
USCA1 Opinion

	




          March 28, 1994        [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ___________________          No. 93-2160                                               KENNETH GENTLE,                                Plaintiff, Appellant,                                          v.               DONNA E. SHALALA, SECRETARY OF HEALTH &amp; HUMAN SERVICES,                                 Defendant, Appellee.                                  __________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF MASSACHUSETTS                   [Hon. Nathaniel M. Gorton, U.S. District Judge]                                              ___________________                                 ___________________                                        Before                                 Breyer, Chief Judge,                                         ___________                            Cyr and Stahl, Circuit Judges.                                           ______________                                 ___________________               Sandra L. Smales, on brief for appellant.               ________________               Donald  K.  Stern,  United  States  Attorney,   Charlene  A.               _________________                               ____________          Stawicki, Assistant United States  Attorney, and Jessie M. Klyce,          ________                                         _______________          Assistant Regional  Counsel, Region  I, Department of  Health and          Human Services, on brief for appellee.                                  __________________                                  __________________                 Per Curiam.   Appellant/claimant Kenneth Gentle  appeals                 __________            the affirmance by  the district  court of the  denial by  the            Secretary of Health and Human  Service of his application for            disability  insurance  benefits  and   supplemental  security            income.  Gentle, who has a long history of drug and substance            abuse, sustained a work  related injury to his lower  back in            1989.   After the  Social Security Administration  denied his            request   for  benefits, a  hearing was  conducted before  an            Administrative Law Judge [ALJ]  in 1991.  The ALJ  determined            that medical  evidence established that  claimant had "severe            chronic  low back pain, a  history of substance  abuse, and a            borderline personality disorder."    Applying the  sequential            analysis  set  forth  in  20  C.F.R.      404.1520,  see also                                                                 ___ ____            Goodermote  v. Secretary  of Health  and Human  Services, 690            __________     _________________________________________            F.2d  5,  6-7  (1st Cir.  1982),  the  ALJ  found that  these            conditions  constituted  a  severe  impairment  but were  not            deemed to be presumptively disabling since they  did not meet            or equal any impairment found in the Listings of Impairments,            20 C.F.R.  Part 404,  Subpart P,  Appendix 1.   The ALJ  also            determined that, in light  of these impairments, Gentle could            not  perform his past work.   However, the  ALJ did find that            Gentle  retained  the "residual  functional capacity  for the            full range of sedentary work  . . . reduced [only] by  a need            to  alternate between  sitting  or standing."   A  vocational            expert  [VE] identified various skilled and semi-skilled jobs                                         -2-            which  could be performed sitting or standing at will.  Based            on Gentle's  exertional capacity for sedentary  work, as well            as his  age, education  and work experience,  "in conjunction            with   claimant's   non-exertional   impairments,"  the   ALJ            concluded that  Gentle was  "not disabled" and  could perform            the semi-skilled  and unskilled  jobs the VE  had identified.            We  review  this decision  only  to determine  whether  it is            supported by substantial evidence in  the record as a  whole.            42  U.S.C.   405(g); Irlanda  Ortiz v. Secretary  of Health &amp;                                 ______________    ______________________            Human Services, 955 F.2d 765, 769 (1st Cir. 1991).            ______________                 Gentle  argues first that the ALJ erred in relying on an            incorrect definition of sedentary  work in her  determination            that  he was  not disabled.   According to  Gentle, sedentary            work  requires the ability to  sit for long  period of times,            whereas  the ALJ found that Gentle  was required to alternate            between sitting and standing.  Gentle relies in particular on            Social Security  Ruling [SSR]  83-12, which states,  in part,            that  an individual  who must  alternate between  sitting and            standing  is "not  functionally capable  of doing  . .  . the            prolonged sitting contemplated in the definition of sedentary            work."   See  also Rosado  v. Secretary  of Health  and Human                     ___  ____ ______     _______________________________            Services, 807  F.2d 292, 293 (1st Cir.  1986) (quoting Shiner            ________                                               ______            v.  Heckler, 608 F. Supp.  481, 484 (D.  Mass. 1985) (quoting                _______            Benko  v. Schweiker, 551 F.  Supp. 698, 704  (D. N.H. 1982)))            _____     _________            ("'a  determination  that  a  claimant  is  able  to  perform                                         -3-            sedentary work "must  be predicated upon  a finding that  the            claimant   can  sit   most  of   the  day,   with  occasional            interruptions of short duration"'").    He further notes that            the  ALJ found  him  capable of  performing semi-skilled  and            unskilled jobs.   Yet,  according to SSR  83-12, "[u]nskilled            jobs  are particularly  structured  so that  a person  cannot            ordinarily sit or stand at will."                  Gentle's argument is misdirected.  The ALJ  did not find            that Gentle could do a full range of sedentary work.  Rather,            she  found that Gentle was  not disabled because  he could do            the jobs the  VE had  identified.  Moreover,  in making  this            finding, the ALJ followed the directives of SSR 83-12.   In a            situation like  Gentle's where a claimant  needs to alternate            positions, SSR  83-12 requires the ALJ  to determine, through            the evidence  of  a  VE,  whether sufficient  jobs  within  a            claimant's limited  range  of sedentary  work are  available.            See  SSR 83-12 ("In cases of unusual limitation of ability to            ___            sit  or  stand, a  [VE] should  be  consulted to  clarify the            implications for  the occupational  base.").  Similarly,  the            reference in  SSR 83-12  to unskilled jobs'  not "ordinarily"            allowing for such alteration seems  to invite VE testimony as            to  specific jobs the claimant could perform.  In the instant            case, the  ALJ specifically asked  the VE to  list "unskilled            jobs where you could sit or stand at will."  In response, the            VE listed several types of jobs  that could be performed by a                                         -4-            person with claimant's need  to alternate between sitting and            standing.   The procedure outlined in SSR 83-12 was followed.            We find  no error  in the  ALJ's determination  that Gentle's            exertional  impairments did  not prevent him  from performing            sedentary jobs allowing for alteration of position.1                 Gentle's  second contention  is  that the  ALJ erred  in            implicitly  finding  that his  nonexertional impairments--his            personality  disorder and  drug abuse--did  not significantly            limit  the range  of sedentary  work which he  could perform.            While the  issue is  close, we  find  no error  in the  ALJ's            determination.                  Unskilled work of the sort  Gentle was found capable of            performing requires,  inter alia,  the "ability to  cope with                                  _____ ____            the demands  of any  work environment."   Irlanda  Ortiz, 955                                                      ______________            F.2d at 770; see also SSR 85-15 (listing  mental requirements                         ___ ____            for unskilled  work).   Medical evidence was  presented which            indicates that  Gentle's potential occupational  base was  at            least  marginally eroded by impairments affecting his ability            in   this  area.    First,  a  report  by  Dr.  Daniels,  the            Secretary's  consultative, non-examining  psychiatrist, found            that  Gentle was  moderately limited  in his  ability (1)  to            interact appropriately with the general public; (2) to accept            instructions  and  respond  appropriately  to  criticism from                                            ____________________            1.  Our  decision in  Rosado  is distinguishable  in that  in                                  ______            Rosado there was no  evidence from a vocational expert  as to            ______            the range of the work the claimant could perform.                                         -5-            supervisors; and (3)  to get  along with  coworkers or  peers            without  distracting them or  exhibiting behavior  extremes.             Dr. Daniels also found that Gentle had a "moderate" degree of            difficulty in maintaining  social functioning and  a "history            of personality  problems with  difficulty relating to  others            esp[ecially]   authority   figures  and   esp[ecially]  under            stressful  circumstances."    Similarly  Dr.  Shea,  Gentle's            treating  clinical psychologist,  found that  he had  "a long            history  of difficulty  in  interpersonal relationships  that            have been characterized by  defensiveness, argumentativeness,            demandingness  and  combativeness especially  while substance            abusing."  Both Dr. Daniels and Dr. Shea noted that substance            abuse had been an ongoing problem for Gentle.                 This  evidence of  moderate limitations  in coping  with            others  arguably  would  have  supported  a  conclusion  that            Gentle's mental impairments were significant and affected his            capacity for  the  jobs which  he  was otherwise  capable  of            performing.   Nevertheless, other evidence supports the ALJ's            determination  that these  impairments did  not significantly            reduce  Gentle's residual  capacity for  unskilled work.   In            such circumstances, the Secretary's  decision must be upheld.            Irlanda Ortiz, 955 F.2d at 770.            _____________                 Dr. Daniels  found  that although  Gentle  had  moderate            difficulty in  maintaining social functioning,  he had  never            had any episodes of deterioration or decompensation in a work                                         -6-            or work-like setting.  More importantly,  Dr. Shea, with whom            Gentle had been undergoing therapy for over five years, found            that Gentle's difficulties in interpersonal relationships and            his   problems  with   substance  abuse  had   improved  with            treatment.  Even  though some  of the problems  had begun  to            reemerge after Gentle's injury  in 1989, Dr. Shea anticipated            that  "with  adequate program  and  vocational rehabilitation            including  job  placement .  . .  [Gentle]  would be  able to            _________________________            function both in vocational  and social roles more adequately            than  at present."  (Emphasis added).  In Dr. Shea's opinion,            should Gentle not regain "some vocational stability including            full  time  employment," he  had  a  high risk  of  suffering            further deterioration in  his interpersonal difficulties  and            of  returning  to a  pattern of  substance  abuse.   In other            words, Gentle's own treating  psychologist not only found him            capable  of returning  to employment  but even  found  that a            failure  to return  to work  would likely  be psychologically            harmful to him.  In light of this evidence, the Secretary did            not  err in  determining that  Gentle's  nonexertional mental            impairments did not  preclude him from being able  to perform            the  jobs  the  VE had  identified.    See  id. (even  though                                                   ___  __            evidence showed claimant was moderately limited in ability to            cope with work environment, no error in finding claimant able            to perform full range of sedentary work since  other evidence                                         -7-            supported conclusion that claimant's capacity  for full range            of such work was not significantly reduced).                   Affirmed.                 ________                                         -8-

